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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


  K ÉTO NORD HODGES, et al.,

        Plaintiffs,

        v.                                            Case No. 8:24-cv-879

  KATHLEEN PASSIDOMO, et al.,

        Defendants.
  ___________________________________/

                        SECRETARY’S MOTION TO DISMISS

        Defendant, Secretary of State Cord Byrd, moves to dismiss Plaintiffs’ complaint

  under Federal Rule of Civil Procedure 12(b)(6). Specifically, as explained in the

  attached memorandum, Plaintiffs have not and cannot state a Fourteenth Amendment

  claim for vote-dilution.
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                                     INTRODUCTION

         On February 3, 2022, the Florida Senate passed Senate Joint Resolution 100.

  See Fla. Sen. Bill Summary for Joint Resolution of Apportionment (available at

  https://www.flsenate.gov/Session/Bill/2022/100). It concerned the apportionment

  of the Florida House of Representatives and the Florida Senate. Id. Thirty-seven

  senators voted for the bill. Id. None voted against it. Id.

         The Florida Supreme Court reviewed the apportionment plan as required by

  Article III, § 16(c) of the Florida Constitution. In re Senate Joint Resolution of Legislative

  Apportionment 100, 334 So. 3d 1282 (Fla. 2022). “But, for the first time since the voters

  adopted the existing procedural framework for judicial review of apportionment in

  1968, no one appeared to oppose the Legislature’s plans.” Id. at 1285. The Florida

  Supreme Court nevertheless assessed the apportionment plan’s compliance with state

  and federal law. Id. at 1285-90. It found the districts within the plan to be compact, id.

  at 1287; to follow political and geographical boundaries wherever possible, id. at 1288;

  and to “not impermissibly dilute minority voting strength,” id. at 1289 (emphasis

  added). None dissented from the decision.

         More than two years later, Plaintiffs bring a vote-dilution claim under the

  Fourteenth Amendment’s Equal Protection Clause. Doc. 1 at ¶¶ 133-39. They claim

  that the “packing” of black voters in Senate District 16 dilutes black voting strength in

  Senate District 18. Id. at 1. The problem is this: Plaintiffs fail to state a claim because

  they can’t allege a discriminatory effect for purposes of the Fourteenth Amendment.




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  See Common Cause Fla. v. Byrd, No. 4:22-cv-109-AW-MAF, 2024 U.S. Dist. LEXIS

  54503, at *152-53 (N.D. Fla. Mar. 27, 2024) (three-judge court) (Winsor, J.,

  concurring in part and concurring in the judgment).

        The test for discriminatory effect in a vote-dilution claim under the Fourteenth

  Amendment is the same as that for a claim under § 2 of the Voting Rights Act. Id. It

  “requires a showing, among other things, that the minority group ‘is sufficiently large

  and geographically compact to constitute a majority in a single-member district.’” Id.

  at *153 (quoting Thornburg v. Gingles, 478 U.S. 30, 50 (1986)). But the complaint makes

  clear that there is no configuration of the senate districts where the black population

  constitutes a majority of the population in a district. Doc. 1 at ¶ 126. Not one. Not in

  the benchmark plan. Id. Not in the enacted plan. Id. Not in Plaintiffs’ demonstration

  plan. Id. And not in the two other plans that Plaintiffs cite as alternatives. Id. Without

  a majority-minority district, Plaintiffs fail to state a vote-dilution claim under the

  Fourteenth Amendment. This Court should thus dismiss the complaint.

                               STANDARD OF REVIEW

        To survive a motion to dismiss, a complaint must allege facts sufficient to

  establish the Court’s subject-matter jurisdiction. Muransky v. Godiva Chocolatier, Inc.,

  979 F.3d 917, 924-25 (11th Cir. 2020) (en banc); see Lujan v. Defs. of Wildlife, 504 U.S.

  555, 561 (1992). The complaint must also “state a claim to relief that is plausible on

  its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). This requires “factual




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  content” that will support a “reasonable inference that the defendant is liable for the

  misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                                      ARGUMENT

        Vote-dilution claims under the Fourteenth Amendment require Plaintiffs to

  plead and then prove both discriminatory purpose and discriminatory effect. See, e.g.,

  Shaw v. Reno, 509 U.S. 630, 641 (1993); Johnson v. DeSoto Cnty. Bd. of Comm’rs, 204

  F.3d 1335, 1345 (11th Cir. 2000). Since the 1982 amendments to the Voting Rights

  Act, however, vote-dilution claims “[t]ypically” arise under § 2 of the Act. Common

  Cause, 2024 U.S. Dist. LEXIS 54503, *151. That’s because the § 2 claims no longer

  require a showing of discriminatory purpose; discriminatory effect is all that’s needed.

  Id. (citing Gingles, 478 U.S. at 35); see also id. at *76-77; Travis Crum, Reconstructing

  Racially Polarized Voting, 70 Duke L. J. 261, 282 (2020). Yet the discriminatory-effect

  requirement under the Fourteenth Amendment is the same as that for a § 2 claim. It

  shares a common lineage. And it too requires Plaintiffs to show that the black

  community in a geographically compact area could constitute a majority of the voting-

  age population—a “threshold” showing to establish that a state’s actions are thwarting

  the minority’s “potential to elect representatives in the absence of the challenged”

  action. Gingles, 478 U.S. at 50, n.17. Plaintiffs’ complaint makes clear that they can’t

  meet this threshold requirement. Doc. 1 at ¶ 126.




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         I.     Discriminatory effect under the Voting Rights Act and the
                Fourteenth Amendment: a shared lineage.

         The Supreme Court recognized in Brnovich v. Democratic National Committee, 141

  S. Ct. 2321, 2331 (2021), that “[o]ne Fourteenth Amendment vote-dilution case, White

  v. Regester, 412 U.S. 755 (1973),” has come “to have outsized importance in the

  development” of Voting Rights Act “case law.” It was in White that the Supreme Court

  said a vote-dilution plaintiff must show that “the political processes leading to

  nomination and election were not equally open to participation by the group in

  question—that its members had less opportunity than did other residents in the district

  to participate in the political processes and to elect legislators of their choice.” 412 U.S.

  at 766 (emphasis added). Section 2 of the Voting Rights Act borrows “almost verbatim

  from White[’s]” Fourteenth Amendment test for vote dilution. Brnovich, 141 S. Ct. at

  2333. Section 2 requires proof that “the political processes leading to nomination or

  election . . . are not equally open to participation” by members of a minority community

  “in that its members have less opportunity than other members of the electorate to

  participate in the political process and to elect representatives of their choice.” 52

  U.S.C. § 10301(b) (emphasis added).

         So, when does the government dilute a minority group’s ability to elect

  legislators or representatives of its choice? The Supreme Court answered that question

  in Gingles, recognizing three “necessary preconditions” for any vote-dilution claim.

  478 U.S. at 50-51. The first of these preconditions calls for the minority group to be

  “sufficiently large and geographically compact to constitute a majority in a single-


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  member district.” Id. at 50. The second requires a showing that the minority group is

  “politically cohesive.” Id. at 51. And the third calls on a plaintiff to establish that the

  majority group votes “sufficiently as a bloc to enable it . . . usually to defeat the

  minority’s preferred candidate.” Id. Only after the preconditions are met can a court

  assess whether there’s been impermissible vote dilution based on the “totality of the

  circumstances.” Id. at 79; see also Johnson v. De Grandy, 512 U.S. 997, 1013 (1994).

         The Gingles preconditions serve an essential gatekeeping purpose. Together they

  “establish that the minority has the potential to elect a representative of its own choice

  in some single-member district,” without which “there neither has been a wrong nor

  can be a remedy.” Growe v. Emison, 507 U.S. 25, 40-41 (1993) (emphasis added). The

  first precondition’s majority-minority requirement, in particular, shows that a minority

  group can’t elect a representative of its “own choice,” rather than “the choice [of] a

  [racial] coalition.” Bartlett v. Strickland, 556 U.S. 1, 15 (2009) (plurality op.).

         True, Gingles concerned a § 2 claim. But because the language Gingles interpreted

  came from White, a Fourteenth Amendment case, it follows that plaintiffs pursuing a

  vote-dilution claim under the Fourteenth Amendment must also satisfy the Gingles

  preconditions. That’s especially so when “Congress explained that its purpose in

  adding [the text that Gingles interpreted] was to ‘embody the test laid down by the

  Supreme Court in White.’” Chisom v. Roemer, 501 U.S. 380, 395 n.22 (1991) (quoting

  S. Rep. No. 97-417, at 27). After all, Congress “revised § 2 to make clear that a

  violation could be proved by showing discriminatory effect alone and to establish as




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  the relevant legal standard the ‘results test,’ applied by [the Supreme] Court in White

  v. Regester.” Gingles, 478 U.S. at 35 (emphasis added). Congress didn’t amend § 2 to

  create a new effects test. The one, enduring effects test requires every plaintiff to satisfy

  three preconditions. See Gingles, 478 U.S. at 50-51. 1

         II.    The majority-minority requirement for vote-dilution claims: a
                threshold Plaintiffs can’t and haven’t met.

         Plaintiffs in this case can’t meet the first Gingles precondition, namely the

  majority-minority requirement. They challenge “two Florida Senate districts in the

  Tampa Bay area—Districts 16 and 18—as racially gerrymandered in violation of the

  Fourteenth Amendment.” Doc.1 at 1. They allege that “District 16 stretches across the

  waters of” “Tampa and St. Petersburg, packing more than half of the region’s Black

  residents into that district.” Id. (emphasis added). And they claim that “adjacent

  District 18 is artificially stripped of Black residents”—that the “influence and voice”

  of voters there is diluted. Id.; see also id. at ¶¶ 12, 99, 133-39.

         Yet nowhere in their complaint do Plaintiffs ever allege that the creation of a

  majority-black district is even possible as an alternative to Senate District 18 (or Senate



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           The Eleventh Circuit recognized much the same. In Johnson, the Eleventh
  Circuit said that “the Supreme Court, historically, has articulated the same general
  standard, governing the proof of injury, in both section 2 and constitutional vote
  dilution cases.” 204 F.3d at 1344. Or to put it more bluntly: “[the Eleventh Circuit]
  question[ed], as a legal proposition, whether vote dilution can be established under the
  Constitution when the pertinent record has not proved vote dilution under the more
  permissive section 2.” Id. at 1344-45; see also Lee Cnty. Branch of NAACP v. City of
  Opelika, 748 F.2d 1473, 1478 n.7 (11th Cir. 1984) (“[I]f the plaintiffs cannot prevail
  under the generally more easily proved ‘results’ standard of section 2, it is unlikely that
  they could prevail on their constitutional claims in any event.”).

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  District 16 for that matter). The black voting age population tops out at 33.20% in the

  five iterations of what Plaintiffs call a “Protected District”—a district in the region that

  performs for black voters. Doc. 1 at ¶ 126. That’s simply not enough.

         To establish a vote-dilution claim, Plaintiffs had to show that the minority group

  has “50 percent or more of the voting population and could constitute a compact

  voting majority” but has nonetheless “not [been] put into a district.” Bartlett, 556 U.S.

  at 19. Plaintiffs can’t state a claim for relief without at least alleging this threshold fact.

  Id.; see also White, 412 U.S. at 766; Thompson v. Kemp, 309 F. Supp. 3d 1360, 1362,

  1365-66 (N.D. Ga. 2018) (three-judge court) (dismissing Fourteenth Amendment vote-

  dilution claim for failure to allege facts supporting Gingles preconditions).

                                        CONCLUSION

         For the foregoing reasons, this Court should dismiss Plaintiffs’ complaint under

  Rule 12(b)(6). Plaintiffs haven’t adequately plead a discriminatory effect for purposes

  of their Fourteenth Amendment claim.




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   Dated: April 25, 2024                      Respectfully submitted,

   Bradley R. McVay (FBN 79034)               /s/ Mohammad O. Jazil
   brad.mcvay@dos.myflorida.com               Mohammad O. Jazil (FBN 72556)
   Joseph S. Van de Bogart (FBN 84764)        mjazil@holtzmanvogel.com
   joseph.vandebogart@dos.myflorida.com       Michael Beato (FBN 1017715)
   Ashley Davis (FBN 48032)                   mbeato@holtzmanvogel.com
   ashley.davis@dos.myflorida.com             zbennington@holtzmanvogel.com
   FLORIDA DEPARTMENT OF STATE                HOLTZMAN VOGEL BARAN
   R.A. Gray Building                         TORCHINSKY & JOSEFIAK
   500 S. Bronough St.                        119 S. Monroe St. Suite 500
   Tallahassee, FL 32399                      Tallahassee, FL 32301
   (850) 245-6536                             (850) 270-5938

                                              Counsel for the Secretary




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                       LOCAL RULE 3.01(A) CERTIFICATION

         The undersigned certifies that this motion to dismiss does not exceed twenty-

  five pages inclusive of all parts.

                                           /s/ Mohammad O. Jazil
                                           Mohammad O. Jazil

                       LOCAL RULE 3.01(G) CERTIFICATION

         The undersigned certifies that counsel for the Secretary conferred with counsel

  for Plaintiffs regarding this motion to dismiss, that the parties do not agree on the

  resolution of the motion, that the motion is opposed, and that the conference occurred

  via telephone.

                                           /s/ Mohammad O. Jazil
                                           Mohammad O. Jazil

                               CERTIFICATE OF SERVICE

         I hereby certify that on April 25, 2024, I electronically filed the foregoing with

  the Clerk of Court by using CM/ECF, which automatically serves all counsel of record

  for the parties who have appeared.

                                           /s/ Mohammad O. Jazil
                                           Mohammad O. Jazil.




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